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                                                                         FORD MOTOR COMPANY AND
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                                                                      12 EAGLE MOTORS INC., DBA,
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                                                                         PASO ROBLES FORD LINCOLN
                                                                      13 Additional counsel listed on signature page
                                                                      14
                                                                                               UNITED STATES DISTRICT COURT
                                                                      15
                                                                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                      16
                                                                         IN RE: FORD MOTOR CO. DPS6              Case No. 2:18-ML-02814-AB (FFMx)
                                                                      17 POWERSHIFT        TRANSMISSION
                                                                         PRODUCTS LIABILITY                      Assigned to Hon. Andre Birotte, Jr.
                                                                      18 LITIGATION                              Courtroom:7B; Magistrate Fredrick F.
                                                                                                                 Mumm
                                                                      19
                                                                                                                 REPLY IN RESPONSE TO
                                                                      20 THIS    DOCUMENT      RELATES   ONLY    PLAINTIFF’S OPPOSITION TO
                                                                         TO:                                     FORD MOTOR COMPANY’S
                                                                      21                                         MOTION FOR SANCTIONS
                                                                                                                 AGAINST PLAINTIFF AND
                                                                      22 Hobart,  Jeff v. Ford Motor Company, et PLAINTIFF’S COUNSEL
                                                                         al., 2:18-cv-01893-AB-FFM               PURSUANT TO F.R.C.P. 30(D)(2), 28
                                                                      23                                         U.S.C. § 1927, AND THE COURT’S
                                                                                                                 INHERENT POWER
                                                                      24
                                                                                                                 Date: May 14, 2019
                                                                      25                                         Time: 10:00 a.m.
                                                                                                                 Dept.: Courtroom 580 (Temple Street
                                                                      26                                         Courthouse)

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                                                                      28
                                                                                                                 1
                                                                           REPLY IN RESPONSE TO PLS OPPO. TO FORD MOTOR CO.’S MOTION FOR SANCTIONS
                                                                           AGAINST PLAINTIFF AND PLAINTIFF’S COUNSEL PURSUANT TO F.R.C.P. 30(D)(2), 28
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                                                                       1         Plaintiff, and his counsel, continue to mock their obligations under the Federal
                                                                       2 Rules of Civil Procedure in Plaintiff’s opposition brief, in which “good faith” and
                                                                       3 non-obstruction are professed. Not satisfied with manipulating testimony by means
                                                                       4 of speaking objections and impermissible instructions not to answer, Plaintiff’s
                                                                       5 counsel now resorts to asserting that Hernandez’s nearly 100 violations of F.R.C.P.
                                                                       6 Rule 30, were in good faith, and that Defendant’s request for sanctions is “widely
                                                                       7 excessive.” What is widely excessive is Hernandez’s nearly 100 F.R.C.P. Rule 30
                                                                       8 violations, which included impermissibly instructing Plaintiff Hobart not to answer
                                                                       9 questions on improper grounds (such as relevance), no less than twenty (20) times.
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                                                                      10 The chutzpah of the stratagem underscores Plaintiff’s counsel’s disdain for the
                                                                      11 standard of conduct to which practice in federal court demands.
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                                                                               The thrust of Plaintiff’s sanctions avoidance argument is based upon Plaintiff’s
                                                                      13 dissatisfaction with Ford’s meet and confer. The meet and confer obligations were
                                                                      14 fully satisfied. Plaintiff and his counsel are under the impression that somehow
                                                                      15 Ford’s refusal to accept their paltry concessions equated to a failure to meet and
                                                                      16 confer. Not so. In fact, Defendant proposed sanctions narrowly tailored to the
                                                                      17 destruction of truthful testimony, and Plaintiff refused to agree; Plaintiff’s proposal
                                                                      18 was narrowly tailored to equate to no sanctions and cause the Defendant to incur
                                                                      19 additional expenses. Further, Plaintiff’s brief’s preoccupation with procedural
                                                                      20 niceties rather than the outrageousness of the deposition charade speaks volumes
                                                                      21 about the need for sanctions. To be clear, an aggrieved party is under no obligation to
                                                                      22 settle for a flimsy Band-aid after a massacre has taken place.
                                                                      23         In further moves of deflection, Plaintiff’s opposition brief misrepresents the
                                                                      24 status of the Picton case (which provides another demonstration of Hernandez’s
                                                                      25 misconduct), which was a member case of MDL No. 2814 when the Motion for
                                                                      26 Sanctions was filed, (Motion for Sanctions filed: April 3, 2019 [Doc. No. 234];
                                                                      27 Minute Order granting remand of Picton issued: April 17, 2019 [Doc. 258]); and
                                                                      28
                                                                                                                 2
                                                                           REPLY IN RESPONSE TO PLS OPPO. TO FORD MOTOR CO.’S MOTION FOR SANCTIONS
                                                                           AGAINST PLAINTIFF AND PLAINTIFF’S COUNSEL PURSUANT TO F.R.C.P. 30(D)(2), 28
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                                                                       1 Plaintiff makes what amounts to be complaints regarding calendaring, wrongfully
                                                                       2 asserting that this motion was improperly noticed for a Wednesday in “violation of
                                                                       3 Judge Birotte’s Standing Orders”, when, in fact, during the Initial Status Conference
                                                                       4 on April 18, 2018, Judge Birotte clearly indicated his preference that motions in this
                                                                       5 matter be set for hearing on Wednesdays. (Exhibit E to the Declaration of Spencer
                                                                       6 Hugret (“Hugret Decl.”), excerpts from Reporter’s Transcript of Proceeding,
                                                                       7 Wednesday, April 18, 2018, at p. 71:7-19.)
                                                                       8     Finally, Plaintiff’s brief leaves the indelible impression that Plaintiff believes
                                                                       9 that Ms. Hernandez’s non-stop repetitive interruptions, coaching and speaking
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                                                                      10 objections are perfectly appropriate, with the conclusory pronouncements about all of
                                                                      11 her nearly 100 interruptions as being “individually tailored” (Pls. Oppo. Br. at 1:6),
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                                                                      12 and “legitimate.” (Id.) Plaintiff just glosses over most of the numerous and extreme
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                                                                      13 examples of sanctionable conduct detailed in Ford’s opening brief.
                                                                      14      The Rules do not countenance such a sham.
                                                                      15 A.      Sanctions Are Necessary To Deter Bad Faith Obstruction And The
                                                                      16         Flouting Of The Legal Process By Plaintiff’s Counsel
                                                                      17         Apparently emboldened by engaging in such misconduct on at least one
                                                                      18 previous occasion, Ms. Hernandez believed herself to be the self-appointed gate-
                                                                      19 keeper of what questions were to be asked of Plaintiff Hobart, stating on the record,
                                                                      20 “Let’s see what the questions are before I allow him to answer.” (Def. Exhibit A,
                                                                      21 Excerpt #10.) Not only is Ms. Hernandez, in fact, not a member of the judiciary; she
                                                                      22 likewise does not appear to be a member of this Court’s bar, nor has she filed a
                                                                      23 Notice of Appearance in MDL No. 2814. As such, not only is she egregiously
                                                                      24 mistaken on the role of a federal practitioner is during a deposition; her very
                                                                      25 “defense” of the Plaintiff Jeff Hobart at his deposition was a violation of Local Rule
                                                                      26 83-2.1.1.1.1 (Hall v. Clifton Preston, 150 F.R.D 525, 528 [footnote omitted] (E.D.
                                                                      27
                                                                               1
                                                                      28         L.R. 83-2.1.1.1 Who May Appear. Except as provided in L.R. 83-2.1.3,
                                                                                                                 3
                                                                           REPLY IN RESPONSE TO PLS OPPO. TO FORD MOTOR CO.’S MOTION FOR SANCTIONS
                                                                           AGAINST PLAINTIFF AND PLAINTIFF’S COUNSEL PURSUANT TO F.R.C.P. 30(D)(2), 28
                                                                                         U.S.C. § 1927, AND THE COURT’S INHERENT POWER
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                                                                       1 Penn. 1993). “There is no proper need for the witness's own lawyer to act as an
                                                                       2 intermediary, interpreting questions, deciding which questions the witness should
                                                                       3 answer, and helping the witness to formulate answers.")
                                                                       4         “At a time when public confidence in the legal profession has already been
                                                                       5 severely eroded, courts cannot further jeopardize that confidence by condoning []
                                                                       6 egregious and pervasive attorney misconduct.” Trulis v. Barton, 107 F.3d 685, 696
                                                                       7 (9th Cir. 1995). Behavior like Hernandez’s must be sanctioned “to deter undesirable
                                                                       8 conduct.” ADO Fin., A.G. v. McDonnell Douglas Corp., 938 F. Supp. 590, 595 (C.D.
                                                                       9 Cal. 1996) (citing Beatrice Foods Co. v. New England Printing & Lithographing Co.,
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                                                                      10 899 F.2d 1171, 1177 (Fed. Cir. 1990) (the “principal purpose” of 28 U.S.C. § 1927 is
                                                                      11 deterrence).) “The district court, in considering sanctions, should also determine
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                                                                      12 whether reference of any of the lawyers involved to the appropriate disciplinary
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                                                                      13 authorities is warranted.” Trulis, 107 F.3d at 696.
                                                                      14       “In determining the propriety of sanctions, it is permissible to consider all
                                                                      15 incidents of a party’s conduct with respect to discovery in the litigation.” Sanders v.
                                                                      16 Aranas, 2008 U.S. Dist. LEXIS 90783 at *10; 2008 WL 4845233, at *3 (E.D. Cal.
                                                                      17 Nov. 7, 2008) (Mag. J. Snyder) (citing Adriana Int’l Corp. v. Thoeren, 913 F.2d
                                                                      18 1406, 1411-12 (9th Cir. 1990)). Federal courts have recognized that discovery
                                                                      19 frustration calls for sanctions. Id. at *4 (sanctioning dilatory discovery tactics). The
                                                                      20 Ninth Circuit has also recognized that a defendant suffers prejudice if a plaintiff's
                                                                      21 actions “threaten to interfere with the rightful decision of the case.” Adriana Int’l,
                                                                      22 913 F.2d at 1412.
                                                                      23         Plaintiff fails to provide a single case to support his position that any of Ms.
                                                                      24 Hernandez’s conduct was appropriate. Plaintiff ignores the massive volume of
                                                                      25 authority in Ford’s brief in support of its Motion for Sanctions. Rather, Plaintiff
                                                                      26
                                                                         83-2.1.4, 83-2.1.5, 83-4.5, and F.R.Civ. P. 45(f), an appearance before the Court on
                                                                      27 behalf of another person, an organization, or a class may only be made by members
                                                                         of the Bar of this Court, as defined in L.R. 83-2.1.2.
                                                                      28
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                                                                           REPLY IN RESPONSE TO PLS OPPO. TO FORD MOTOR CO.’S MOTION FOR SANCTIONS
                                                                           AGAINST PLAINTIFF AND PLAINTIFF’S COUNSEL PURSUANT TO F.R.C.P. 30(D)(2), 28
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                                                                       1 essentially claims that Ms. Hernandez’s conduct was not as bad as the discovery
                                                                       2 violations in two cases cited in Defendant’s moving papers, Conn. Gen. Life Ins. Co.
                                                                       3 v. New Images of Beverly Hills, 482 F.3d 1091, 1097 (9th Cir. 2007), and Claypole v.
                                                                       4 Cnty. of Monterey, 2016 U.S. Dist. LEXIS 4389, 2016 WL 145557 (N.D. Cal. 2016),
                                                                       5 and, therefore, argues that sanctions should not be imposed. Not so. Conn. Gen. and
                                                                       6 Claypole are not the measuring stick upon which discovery sanctions are imposed;
                                                                       7 Rule 30 is. Conn Gen and Claypole are excellent examples in which the Courts
                                                                       8 imposed sanctions for attorney misconduct, but there are so many more set forth in
                                                                       9 Ford’s opening brief which Plaintiff just plain ignored. As set forth in Ford’s moving
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                                                                      10 brief, instructions not to answer on any basis not limited to the three bases set forth in
                                                                      11 Rule 30 are impermissible. Each instruction to not answer is, individually, a
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                                                                      12 sufficient grounds for sanctions. Ms. Hernandez impermissibly instructed Mr. Hobart
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                                                                      13 not to answer questions over and over. (See Def. Exhibit A.)
                                                                      14        Hernandez refused to let Plaintiff Hobart answer such questions as whether or
                                                                      15 not he had a Twitter account; what his damages are; what his disabilities are which
                                                                      16 prevent him from being gainfully employed; how and when he retained his counsel;
                                                                      17 how he opted-out of the Vargas v. Ford Motor Company class action; delayed
                                                                      18 discovery facts relevant to statute of limitations defense; and the factual basis for his
                                                                      19 Song-Beverly Warranty Act claims; and fraud claims. (See Def. Exhibit A.) The
                                                                      20 bases for the instructions not to answer were on such impermissible grounds as,
                                                                      21 “relevancy”, “lacks foundation”, “no basis”, “calls for speculation”, “you have
                                                                      22 already answered that”, “I’m not sure what you mean”, “vague, ambiguous and
                                                                      23 overbroad”, and “hypothetical.” (Id.)
                                                                      24       Hernandez’s quest to impede and frustrate the deposition of Mr. Hobart
                                                                      25 warrants severe sanctions. While the fact discovery period is wrapping up at the end
                                                                      26 of May, expert discovery is coming up quickly. There is no evidence that Ms.
                                                                      27 Hernandez’s bad faith behavior will not continue, particularly as Plaintiff and his
                                                                      28
                                                                                                                 5
                                                                           REPLY IN RESPONSE TO PLS OPPO. TO FORD MOTOR CO.’S MOTION FOR SANCTIONS
                                                                           AGAINST PLAINTIFF AND PLAINTIFF’S COUNSEL PURSUANT TO F.R.C.P. 30(D)(2), 28
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                                                                       1 counsel have taken such a cavalier attitude towards what is, on all accounts, appalling
                                                                       2 attorney misconduct.
                                                                       3         Ford’s motion seeks to deter lawyer conduct that is manifestly improper, and
                                                                       4 for that reason, the history of Hernandez’s poor conduct is an appropriate
                                                                       5 consideration. This lawyer’s behavior was disgraceful, and it is both relevant and
                                                                       6 compelling that this was not the only incident. In the Picton matter, Hernandez
                                                                       7 instructed a non-party deponent, whom she did not represent, not to answer relevant
                                                                       8 questions. Plaintiff would prefer that this evidence of misconduct be hidden from the
                                                                       9 Court based upon the fact that the Picton case was remanded to state court. However,
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                                                                      10 the remand of Picton did not occur until two weeks after the instant Motion for
                                                                      11 Sanctions was filed. The instant Motion for Sanctions was filed on April 3, 2019.
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                                                                      12 [Doc. No. 234]. The Minute Order granting remand of the Picton case was issued on
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                                                                      13 April 17, 2019 [Doc. No. 258]. Further, other evidence of the same type of attorney
                                                                      14 misconduct is not something that should be hidden from the Court.
                                                                      15         Moreover, while Hernandez’s state bar record may show that no formal
                                                                      16 disciplinary action has been taken against her, to date, because Hernandez is not a
                                                                      17 member of the United States District Court - Central District of California bar, there
                                                                      18 would not be a record of discipline with the Central District. (Notably, the “defense”
                                                                      19 of the deposition was, in and of, itself a violation of the Local Rule 83-2.1.1.1.)
                                                                      20 B.      Plaintiff’s Counsel’s Unwillingness To Agree To The Appropriate
                                                                      21         Sanctions Which Include Evidentiary Sanctions, Is Not A Shield From The
                                                                                 Imposition Of Sanctions For Bad Faith Attorney Misconduct.
                                                                      22
                                                                      23         Despite flimsy statements that Hernandez’s conduct was in “good faith” in
                                                                      24 Plaintiff’s Opposition brief, Plaintiff essentially concedes the inappropriateness of
                                                                      25 what happened in the deposition during the meet and confer. (See Pls. Exhibits A &
                                                                      26 B, and Def. Exhibits F & G.) The only excuse proffered for such admittedly
                                                                      27 improper deposition deportment is opposing counsel’s failure to engage in a “good
                                                                      28
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                                                                           REPLY IN RESPONSE TO PLS OPPO. TO FORD MOTOR CO.’S MOTION FOR SANCTIONS
                                                                           AGAINST PLAINTIFF AND PLAINTIFF’S COUNSEL PURSUANT TO F.R.C.P. 30(D)(2), 28
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                                                                       1 faith” meet and confer.
                                                                       2         The discovery rules and the expectations of federal practice are not a game in
                                                                       3 which obstruction of the process is condoned until the obstructer is called on the
                                                                       4 abuse. The Rules proscribe that the deposition questions of the witness are
                                                                       5 unimpeded by a constant barrage of frivolous and improper objections. The meet and
                                                                       6 confer procedure was never intended to provide a shield for decorum that any lawyer
                                                                       7 experienced in federal court knows to be improper.
                                                                       8       Moreover, a meet and confer prior to filing a motion for sanctions for attorney
                                                                       9 bas faith misconduct is inherently flawed for the obvious reason that as a practical
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                                                                      10 matter, no practitioner is going agree to meaningfully sanction him/herself and
                                                                      11 impose evidentiary sanctions in his/her own case. For example, the Ninth Circuit has
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                                                                      12 established that requiring a conference of counsel prior to the court's imposition of
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                                                                      13 sanctions under Rule 37(c) would be inconsistent with Rule 37(c) and, therefore,
                                                                      14 unenforceable. Hoffman v. Constr. Protective Servs., 541 F.3d 1175 (9th Cir. 2008)
                                                                      15 ("Any local rule requiring a conference prior to the court's imposition of sanctions
                                                                      16 under Rule 37(c) would be inconsistent with Rule 37(c) and, therefore,
                                                                      17 unenforceable.”) Id. at 1179; see also Aecon Bldgs., Inc. v. Zurich N. Am., No. C07-
                                                                      18 832 MJP, 2008 U.S. Dist. LEXIS 65784, at *13 (W.D. Wash. Aug. 20, 2008). As so
                                                                      19 clearly shown by Plaintiff’s response in this matter, a meet and confer regarding a
                                                                      20 motion seeking sanctions for gross attorney misconduct is particularly futile, where,
                                                                      21 as here, the Plaintiff argues in his Opposition brief that the behavior at issue, i.e.
                                                                      22 violating the Rules nearly 100 times during a deposition, is perfectly appropriate.
                                                                      23         Nonetheless, Ford did meaningfully meet and confer with Plaintiff’s counsel.
                                                                      24 Plaintiff’s counsel were simply unwilling to agree to the appropriate sanctions which
                                                                      25 include evidentiary sanctions which are well-suited the damage done. (See Plaintiffs’
                                                                      26 Exhibits A & B; and Defs. Exhibits F & G, attached to the Hugret Decl.). It should
                                                                      27 be noted that despite Plaintiff’s characterization of Defendant’s request for sanctions
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                                                                           REPLY IN RESPONSE TO PLS OPPO. TO FORD MOTOR CO.’S MOTION FOR SANCTIONS
                                                                           AGAINST PLAINTIFF AND PLAINTIFF’S COUNSEL PURSUANT TO F.R.C.P. 30(D)(2), 28
                                                                                         U.S.C. § 1927, AND THE COURT’S INHERENT POWER
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                                                                       1 as “tantamount to terminating sanctions”, Ford did not request the case be terminated
                                                                       2 or dismissed. (Id.) It sought evidentiary sanctions narrowly tailored to the questions
                                                                       3 to which Plaintiff Hobart was instructed not to answer, or, motivated by Plaintiff’s
                                                                       4 counsel’s coaching, refused to answer; prophylactic measures; and reasonable
                                                                       5 monetary sanctions tailored to the expenses incurred, and to be incurred by
                                                                       6 Defendant, due to Plaintiff’s counsel’s bad faith conduct. (See Pls. Exh. A & B; and
                                                                       7 Def. Exhs. E, and F.)
                                                                       8       Plaintiff’s counsel seem to believe that Ford’s refusal to accept their offer
                                                                       9 which amounted to the equivalent of a “re-do” of some questions, with no sanctions,
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                                                                      10 at further expense to Defendant, somehow provides a discovery abuse sanctuary.
                                                                      11 That procedural context, however, does not exculpate them from sanctions for
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                                                                      12 Hernandez’s obstruction during the examination of Mr. Hobart. Further, there is zero
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                                                                      13 purpose in taking a second deposition when Plaintiff’s counsel is under the disturbing
                                                                      14 belief that all of the objections launched and the bad faith obstruction was proper.
                                                                      15 There is no reason that any party should subject themselves to a repeat performance
                                                                      16 of bad faith conduct and obstructionist tactics.
                                                                      17        Moreover, the line in Plaintiffs’ opposition that the objections were made in
                                                                      18 response to “legally improper questioning” is unavailing. As indicated in the moving
                                                                      19 papers, the record clearly demonstrates that Hernandez persisted in bad faith to
                                                                      20 influence Plaintiff Hobart to not answer questions such as:
                                                                      21            What does the term fraud mean to you?
                                                                      22
                                                                                     Do you believe that Ford did anything that was fraudulent?
                                                                      23
                                                                                     What, if anything, did you feel Ford Motor Company concealed from you
                                                                      24
                                                                                       about the 2011 Ford Fiesta?
                                                                      25
                                                                                     What, if anything, do you feel that Ford Motor Company should have
                                                                      26
                                                                                       told you specifically, about the 2011 Ford Fiesta?
                                                                      27
                                                                                     In the complaint it says you suffered an ascertainable loss of money,
                                                                      28
                                                                                                                 8
                                                                           REPLY IN RESPONSE TO PLS OPPO. TO FORD MOTOR CO.’S MOTION FOR SANCTIONS
                                                                           AGAINST PLAINTIFF AND PLAINTIFF’S COUNSEL PURSUANT TO F.R.C.P. 30(D)(2), 28
                                                                                         U.S.C. § 1927, AND THE COURT’S INHERENT POWER
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                                                                       1               property or value with respect to the 2011 Ford Fiesta. As you sit here
                                                                       2               today, are you able to ascertain or tell me what that amount is as it
                                                                       3               pertains to Ford Motor Company?
                                                                       4 (See Exhibit A, at excerpts Nos. 73, 76, 84, 87, 92.)
                                                                       5         These questions are just a sampling of the nature of questions asked of Mr.
                                                                       6 Hobart which Plaintiff claims are improper. All of these questions, and those set
                                                                       7 forth in Defendant’s Exhibit A, are both relevant and proper.
                                                                       8        Rule 30(d)(2) empowers the Court to sanction a person who impedes, delays or
                                                                       9 frustrates the fair examination of the deponent, without regard to a meet and confer.
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                                                                      10 Hernandez’s 100 plus objections, many of which were speaking, and 20 improper
                                                                      11 refusals not to answer indisputably impeded and frustrated the fair examination of
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                                                                      12 Hobart. Similarly, 28 U.S.C. § 1927 and the Court’s inherent power authorize the
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                                                                      13 court to issue sanctions when there is gross non-compliance with the Rules.
                                                                      14        A clearer case for deterring non-compliance with the Federal Rules of Civil
                                                                      15 Procedure is difficult to imagine.
                                                                      16                                    CONCLUSION
                                                                      17       Plaintiff’s opposition ignores virtually every case that bears on the
                                                                      18 appropriateness of sanctions against the appalling behavior of Plaintiff’s counsel.
                                                                      19 Tellingly, Plaintiff does not address any of the specific and numerous examples of
                                                                      20 conduct that impeded a fair examination detailed in Exhibit A, e.g., constant
                                                                      21 coaching; lengthy and frequent speaking objections; and instructions not to answer on
                                                                      22 such grounds as “relevance.” Such machinations have been the trademark of
                                                                      23 Hernandez’s participation in the deposition, and this is not the only one. Plaintiff
                                                                      24 rationalizes, distorts and discounts Ms. Hernandez’s litigation unruliness, but there
                                                                      25 really is no justification for conduct so unbecoming of a federal practitioner.
                                                                      26         Basing the opposition to sanctions for attorney misconduct on a claim of lack
                                                                      27 of a meet and confer is futile here, particularly because Ford did engage in a meet and
                                                                      28
                                                                                                                 9
                                                                           REPLY IN RESPONSE TO PLS OPPO. TO FORD MOTOR CO.’S MOTION FOR SANCTIONS
                                                                           AGAINST PLAINTIFF AND PLAINTIFF’S COUNSEL PURSUANT TO F.R.C.P. 30(D)(2), 28
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                                                                       1 confer with Plaintiff’s counsel. Plaintiff’s counsel thought they could obstruct the
                                                                       2 deposition to such a point as to prevent any meaningful testimony on key issues, and
                                                                       3 then offer up the witness a second time after the witness has been so thoroughly
                                                                       4 coached that he believes he cannot answer questions, and at further expense to
                                                                       5 Defendant - all in an effort to avoid any meaningful sanctions, to avoid honest and
                                                                       6 truthful testimony, and to interfere with the rightful decision of the case.
                                                                       7         Where there is blatant obstruction of the evidence as to a particular cause of
                                                                       8 action, and/or an element of that cause of action; evidentiary sanctions as to that
                                                                       9 cause of action, and/or element are indeed appropriate and warranted. In addition to
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                                                                      10 evidentiary sanctions which directly correlated to the questions which Plaintiff was
                                                                      11 either instructed not to answer, or encouraged not to answer, Hernandez should be
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                                                                      12 held personally accountable. This litigation must be enabled to proceed without the
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                                                                      13 obstruction and obfuscation which Hernandez has personified.
                                                                      14     Dated: April 30, 2019
                                                                      15                                          Respectfully submitted,
                                                                      16
                                                                                                                  GORDON REES SCULLY
                                                                      17                                          MANSUKHANI, LLP
                                                                      18
                                                                                                                        /s/ Spencer P. Hugret
                                                                      19                                          By:
                                                                      20                                                Spencer P. Hugret
                                                                                                                        Molly J. Mrowka
                                                                      21
                                                                      22                                          DYKEMA GOSSETT PLLC
                                                                                                                  John M. Thomas
                                                                      23
                                                                                                                  SHOOK, HARDY & BACON
                                                                      24                                          Amir Nassihi
                                                                      25                                          Attorney for Defendants
                                                                      26                                          FORD MOTOR COMPANY
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                                                                                                                 10
                                                                           REPLY IN RESPONSE TO PLS OPPO. TO FORD MOTOR CO.’S MOTION FOR SANCTIONS
                                                                           AGAINST PLAINTIFF AND PLAINTIFF’S COUNSEL PURSUANT TO F.R.C.P. 30(D)(2), 28
                                                                                         U.S.C. § 1927, AND THE COURT’S INHERENT POWER
